 Case 1:18-cv-00407-RJJ-RSK ECF No. 22, PageID.68 Filed 07/10/18 Page 1 of 6




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                        ________________________________________

ELMER RODAS and
NILSHALIE SANTOS                                             ​Case No. 1:18-cv-00407-RJJ-RSK
     Plaintiffs,                                              Hon. Robert J. Jonker

vs.
MARTIN PAINTING AND MAINTENANCE,
CO., INC., JOHN DOE 1, a.k.a MARTIN, and
JOHN DOE 2, a.k.a TONY
        Defendants.
_________________________________________/
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__________________________________________/

             PLAINTIFFS’ BRIEF IN SUPPORT OF MOTION TO EXTEND
                      TIME FOR SERVICE OF COMPLAINT

                                       INTRODUCTION

       Rule 4(m) of the Federal Rules of Civil Procedure provides that the summons and

complaint shall be served on the defendant within 90 days after filing of the complaint. If the

deadline is not met, the Rule allows for the Court to direct that service be effected within a

specified time. A complaint in this action was filed on April 11, 2018. Under Rule 4(m), the

deadline to serve the Defendant is July 10, 2018.

       Plaintiffs respectfully request an extension of time in which to serve the Defendants.

Plaintiffs make this request in good faith and have good cause for the relief they seek. Plaintiffs



                                                                                                 1
 Case 1:18-cv-00407-RJJ-RSK ECF No. 22, PageID.69 Filed 07/10/18 Page 2 of 6




have made multiple diligent attempts to serve Defendants.

                                      PROCEDURAL HISTORY

        Plaintiffs have tried to obtain service upon Defendants John Doe 1, a.k.a Martin, and

John Doe 2, a.k.a Tony, in two different ways. Plaintiffs believe that both John Doe defendants

are attempting to evade service. After three attempts, Plaintiffs were finally able to obtain service

upon Defendant Martin Painting and Maintenance Co., Inc. only by serving the Corporations

Division of the Corporations, Securities & Commercial Licensing Bureau on its behalf.

        Upon filing, to complete service on Defendants, Plaintiffs originally hired U.S. Marshals

to serve Defendants at the address of their registered Resident Agent. ​Exhibit A.​ The Marshals

attempted to serve Defendants at their address via Federal Express mailing. ​ECF Nos. 8-10.​ This

service was deemed unacceptable, as there was no evidence of completed delivery based on the

filed Executed Summons. ​ECF No. 18.​ According to the Court, even if there were completed

delivery by Federal Express, it is doubtful that such service was compliant with Rule 4. ​Id.​ Upon

further investigation, although there is evidence that delivery was completed and all three

packages were delivered to recipients’ address and left at the front door, this service was not

compliant with Rule 4, nor any Michigan Court Rules, as no signatures were required upon

delivery. ​Exhibit B​.

        Pursuant to the Federal Rules of Procedure, Rule 4(e)(1), regarding serving an individual

within a judicial district of the United States, and Rule 4(h)(1)(A), regarding serving a

corporation, partnership, or association in a judicial district of the United States, Plaintiffs

referred to state law in order to effectuate adequate summons. MCR 2.105(A)(2) states process

may be served on an individual by sending a summons and copy of the complaint by certified



                                                                                                   2
 Case 1:18-cv-00407-RJJ-RSK ECF No. 22, PageID.70 Filed 07/10/18 Page 3 of 6




mail, return receipt requested, to the individual. This rule states that service is made when

Defendant acknowledges receipt of the mail. MCR 2.105(H)(2) states that process may be served

on an agent authorized by appointment or by law via registered mail addressed to his office.

       Pursuant to the above rules, Plaintiff mailed the summons and complaint to all

Defendants. All mailings were sent via United States Postal Services (“USPS”) certified mail,

return receipt requested, on May 30, 2018. The summons and complaint were sent to the address

listed on Defendants’ Annual Statement for the Department of Licensing and Regulatory Affairs

(“LARA”). These envelopes were marked “[r]eturn to sender,” “[r]efused,” and “[u]nable to

forward,” and were returned to Plaintiff unsigned on June 13, 2018. The USPS tracking shows

that on June 1, 2018 at 4:22 PM, and on June 2, 2018 at 8:49 AM, service was refused for all

three envelopes. ​Exhibit C.​ Plaintiffs believe that this service was refused because Defendants

are aware of the filed Complaint. Although original service was not compliant with Rule 4 of the

Federal Rules of Civil Procedure, there is evidence that the summons and complaint were

delivered to the address of the Resident Agent. Plaintiffs believe that the Registered Agent is

now evading service due to having already received the summons and complaint, though not

officially. This belief is strengthened by the fact that the 2017 Annual Report for Defendant

Martin Painting and Maintenance Co., Inc., was filed as recently as September 14, 2017, listing

Marilyn Lulgjuraj as the President, Secretary, Treasurer, and Director of the Company. ​Exhibit

A.​

       Due to the fact that Defendant is likely trying to evade service, Plaintiffs did not go out of

their way to hire a Process Server to personally serve Defendants, or conduct a skip trace.

Plaintiffs are confident that the Resident Agent would evade personal service, and that the results



                                                                                                   3
 Case 1:18-cv-00407-RJJ-RSK ECF No. 22, PageID.71 Filed 07/10/18 Page 4 of 6




of a skip trace would yield the same contact information as the Company’s annual LARA filing.

       Plaintiffs instead referred to MCR 2.105(D)(4)(b) regarding service of process on a

private corporation. MCR 2.105(D)(4) states that service can be made on a private corporation

by “sending a summons and a copy of the complaint by registered mail to the corporation or an

appropriate corporation officer and to the Michigan Bureau of Commercial Services, Corporation

Division.” Subsection (a) states MCR 2.105(D)(4) is applicable if “the corporation has failed to

appoint and maintain a resident agent or to file a certificate of that appointment as required by

law.” This rule is applicable to the case at hand because even though Defendant Martin Painting

and Maintenance Co., Inc., has filed an Annual Statement appointing Marilyn Lulgjuraj as

Resident Agent, she has failed to maintain her duties as a resident agent. ​Exhibit A​. Pursuant to

this rule, a copy of the summons and complaint were mailed through USPS registered mail with

return receipt requested to the Corporations Division of the Corporations, Securities &

Commercial Licensing Bureau (formerly the Michigan Bureau of Commercial Services) and to

Martin Painting and Maintenance, Co., Inc. at the address of its appointed resident agent.

       Service upon Marilyn Lulgjuraj, as the resident agent of Martin Painting and

Maintenance, Co., Inc., was attempted on June 21, 2018 and June 27, 2018. On June 21, 2018 at

2:37 PM, service was unsuccessful. A notice was left because an authorized recipient to sign for

the package was unavailable. Service was rescheduled and attempted on June 27, 2018 at 12:07

PM, in which, again, a notice was left because an authorized recipient was not available. ​Exhibit

D.​

       Service upon the Corporations Division of the Corporations, Securities & Commercial

Licensing Bureau was completed on June 21, 2018. ​Exhibit E. Pursuant to MCR 2.105(d)(4),



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 Case 1:18-cv-00407-RJJ-RSK ECF No. 22, PageID.72 Filed 07/10/18 Page 5 of 6




service upon Defendant RPE Painting, LLC, through the Corporations Division of the

Corporations Division of the Corporations, Securities & Commercial Licensing Bureau has been

executed. However, because MCR 2.105(d)(4) only applies to private corporations, and not

individuals, Defendants John Doe 1, a.k.a Martin, and John Doe 2, a.k.a Tony have not yet been

properly served.

                                          LAW AND ANALYSIS

        A party shows good cause by demonstrating a “reasonable justification” for its failure to

complete the requested task within the time prescribed. ​See ​Foster v. Halter​, 279 F.3d 348, 357

(6th Cir. 2001) (construing “good cause” for failure to present new evidence in prior Social

Security proceeding under ​42 U.S.C. § 405(g)​). Good cause can be shown when “the Defendant

in evading service or conceals a defect in attempted service.” Fed. R. Civ. P. 4(e)(1). It is in the

Court’s discretion to determine whether or not this showing has been made. Here, Plaintiff have

acted diligently in attempting to serve Defendants through U.S. Marshals, USPS certified, return

receipt mail, and USPS registered mail to Martin Painting and Maintenance Co., Inc., and the

Corporations Division of the Corporations, Securities & Commercial Licensing Bureau.

However, the only successful attempt has been service for Defendant Martin Painting and

Maintenance Co., Inc., on the Corporations Division of the Corporations, Securities &

Commercial Licensing Bureau. Plaintiff anticipates seeking an order for alternate service given

the difficulties presented in effecting service to date.

                                          CONCLUSION

        Plaintiff has been diligent in every step in the process of attempting service upon

Defendants. Plaintiff has exhausted a variety of means and resources in an attempt to serve



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 Case 1:18-cv-00407-RJJ-RSK ECF No. 22, PageID.73 Filed 07/10/18 Page 6 of 6




Defendants properly. Utilizing U.S. Marshals, and the U.S. Postal Service both proved fruitless.

Utilizing a Process Server to personally serve or process a skip trace on Defendants is likely to

prove fruitless as well, as the Company’s Registered Agent is evading service. More time is

needed to locate Defendants or to seek an order for alternate service. Therefore, Plaintiff’s

Motion for Extension of Summons should be granted and the unserved Defendants should not be

dismissed.

                                            Respectfully Submitted,

Dated: July 10, 2018                        /s/ Robert Anthony Alvarez​             .
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